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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Western Division

Perez C. Funches
                                Plaintiff,
v.                                                   Case No.: 3:20−cv−50088
                                                     Honorable Philip G. Reinhard
Jason Hermeyer, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 3, 2020:


         MINUTE entry before the Honorable Philip G. Reinhard: Due to Covid
restrictions, the hearing on plaintiff's motion for leave to proceed in forma pauperis [4]
previously set for 9:00 a.m. on June 17, 2020, is canceled and reset to 9:30 a.m. on July
27, 2020, in Courtroom 5100 of the Stanley J. Roszkowski United States Courthouse, 327
South Church Street, Rockford, Illinois. Plaintiff Perez C. Funches is ordered to appear in
person on July 27, 2020. Mailed notice(sb)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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